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UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF FLORIDA

IN RE: CASE NO: 1723640
SHAWN THOMPSON
SSN#: xxx-xx-5883
Borrower#: 1016728964 CHAPTER BK13
Debtor(s) CLAIM#: 8

NOTICE OF CREDITOR ADDRESS CHANGE

The U.S. Department of Education (ED), through its bankruptcy servicing agent Educational Credit
Management Corporation (ECMC), and its payment processing servicing agent National Payment Center,
request the Clerk of the U.S. Bankruptcy Court, SOUTHERN DISTRICT OF FLORIDA, make note of
the changes in ED’s addresses:

PAYMENTS:

Old: U.S. Department of Education New: U.S. DEPARTMENT OF EDUCATION
National Payment Center NATIONAL PAYMENT CENTER
PO Box 105028 P O Box 790336
Atlanta, GA 30348-5028 St. Louis, MO 63179-0336

NOTICES:

Old: U.S. Department of Education New: U.S. DEPARTMENT OF EDUCATION
PO Box 16448 P O Box 16448
Saint Paul, MN 55116-0448 Saint Paul, MN 55116-0448

Respectfully submitted this day, May 31, 2019

/s/_ Todd Blunt

Bankruptcy Operation Specialist
Bankruptcy Department

PO Box 16448

St. Paul, MN 55116-0448

PH: (800) 363-4562 Fax: (877) 865 9741

 
